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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE


Aharon Chesler

       v.                                         Case No. 25-cv-20-SM

Robert T. Chesler




                                    ORDER



      After due consideration of the objection filed, I herewith

approve the Report and Recommendation of Magistrate Judge Andrea K.

Johnstone dated May 5, 2025, for the reasons set forth therein.

      The clerk of court shall enter judgment and close the case.

      So Ordered.


                                            ____________________________
                                            Steven J. McAuliffe
                                            United States District Judge

Date: May 7, 2025

cc:   Aharon Chesler, pro se
      Christopher Snook, Esq.
